UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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     RAYVON RUTHERFORD and REGINALD GALLMAN,

                                    Plaintiff(s),                CIVIL CASE DISCOVERY PLAN
                                                                 AND SCHEDULING ORDER
                   v.
                                                                 18   Civ. ______
                                                                           10706 (AEK)
     DET. CAMILO ANTONINI, et al.
                                    Defendant(s).
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       This Civil Case Discovery Plan and Scheduling Order is adopted, after consultation
with counsel and any unrepresented parties, pursuant to Rules 16 and 26(f) of the Federal
Rules of Civil Procedure:

1.         This case [is] [is not] to be tried to a jury (circle one).

2.         The parties may amend the pleadings or join additional parties before ____________.
                                                                                 3/25/21
           Thereafter, amended pleadings may not be filed and additional parties may not be
           joined without consent of the opposing party or leave of the Court.

3.         Initial disclosures pursuant to Rule 26(a)(1) of the Federal Rules of Civil Procedure
           must be completed by _______________.
                                   5/13/2021


4.         Fact Discovery

           The parties will conduct discovery in accordance with the Federal Rules of Civil
           Procedure, the Local Rules of the Southern District of New York, and Judge Krause’s
           Individual Practices. The interim deadlines in paragraphs 4(b) through 4(e) may be
           extended by the parties on consent without application to the Court, provided the
           parties meet the fact discovery completion date in paragraph 4(a).

           a.       All fact discovery must be completed by _______________.
                                                            10/26/2021


           b.       Initial requests for production of documents must be served by
                    _______________.
                     6/14/2021             Any subsequent requests for production must be served no
                    later than 30 days before the fact discovery deadline.

           c.       Interrogatories must be served by _______________.
                                                      6/14/2021            Any subsequent
                    interrogatories must be served no later than 30 days before the fact discovery
                    deadline.
     d.     Non-expert depositions must be completed by _______________.
                                                          9/27/2021           Absent an
            agreement between the parties or an order from the Court, non-party depositions
            must follow initial party depositions.

     e.     Requests to admit must be served by _______________,
                                                   9/27/2021       and in any event no
            later than 30 days before the fact discovery deadline.

5.   Within 14 days of the completion of fact discovery, counsel and any unrepresented
     parties must meet to discuss settlement. The parties must file a joint letter concerning
     settlement within 21 days of the completion of fact discovery. The letter must include a
     statement as to whether the parties propose using any of the following alternative
     dispute resolution mechanisms: (i) a settlement conference with the Court;
     (ii) participation in the Court’s Mediation Program; and/or (iii) retention of a private
     mediator. The use of any alternative dispute resolution mechanism does not stay or
     modify any date in this Order absent express permission from the Court.

6.   Expert Discovery

     a.     All expert discovery, including expert depositions, must be completed by
            _______________.
              12/10/2021


     b.     Plaintiff’s expert disclosures pursuant to Rule 26(a)(2) of the Federal Rules
            of Civil Procedure must be made by _______________.
                                                  10/8/2021


     c.     Defendant’s expert disclosures pursuant to Rule 26(a)(2) of the Federal Rules
            of Civil Procedure must be made by _______________.
                                                11/8/2021


     d.     The interim deadlines in paragraphs 6(b) and 6(c) may be extended by the
            written consent of all parties without application to the Court, provided that all
            expert discovery is completed by the date set forth in paragraph 6(a).

7.   ALL DISCOVERY MUST BE COMPLETED BY _______________.   12/10/2021
     (Absent exceptional circumstances, this date should align with the completion of all
     expert discovery in paragraph 6(a).)

8.   All motions and applications must be governed by the Court’s Individual Practices.
     Should either party wish to file a summary judgment motion, the parties must, within
     14 days of the close of all discovery, submit a joint letter that either sets forth a joint
     proposed briefing schedule or sets forth the parties’ respective proposals for summary
     judgment briefing schedules.




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9.       Unless otherwise ordered by the Court, the parties must submit a proposed Joint
         Pretrial Order for approval within 30 days after the date for the completion of all
         discovery, or, if a summary judgment motion has been filed, within 30 days after a
         decision on the motion. The proposed Joint Pretrial Order must be prepared in
         accordance with Judge Krause’s Individual Practices, and the parties must also comply
         with Judge Krause’s Individual Practices with respect to the filing of other required
         pretrial documents.

10.      The parties have conferred and their present best estimate of the length of the trial is
         _______________.
         5 days


11.      This Civil Case Discovery Plan and Scheduling Order may not be modified or the
         dates herein extended without leave of the Court (except as provided in paragraphs 5(f)
         and 6(d) above).

Dated:      April 26, 2021
           White Plains, NY

                                                      SO ORDERED.


                                                      ________________________________
                                                      Andrew E. Krause
                                                      United States Magistrate Judge




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